                   Case
B 1 (Official Form 1) (1/08)   09-16956             Doc 1         Filed 05/09/09              Entered 05/09/09 11:42:06                         Desc Main
                                                                  Document
                                         United States Bankruptcy Court                       Page 1 of 33
                                                                                                                                          Voluntary Petition
                                     Northern District of Illinois
 Name of Debtor (if individual, enter Last, First, Middle):                                     Name of Joint Debtor (Spouse) (Last, First, Middle):
  Ostrander, Joseph C., Jr.                                                                     Ostrander, Christine S.
 All Other Names used by the Debtor in the last 8 years                                         All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                    (include married, maiden, and trade names):
  None                                                                                          None
 Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN               Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN
 (if more than one, state all):                                                                 (if more than one, state all):
  xxx-xx-5976                                                                                   xxx-xx-9268
 Street Address of Debtor (No. and Street, City, and State):                                    Street Address of Joint Debtor (No. and Street, City, and State):
 526 Senon Drive, Lemont, IL                                                                    526 Senon Drive, Lemont, IL

                                                                      ZIP CODE 60439                                                                         ZIP CODE 60439
 County of Residence or of the Principal Place of Business:                                     County of Residence or of the Principal Place of Business:
  Cook                                                                                          Cook
 Mailing Address of Debtor (if different from street address):                                  Mailing Address of Joint Debtor (if different from street address):
  Same                                                                                          Same

                                                                 ZIP CODE                                                                                    ZIP CODE
 Location of Principal Assets of Business Debtor (if different from street address above):
  N/A                                                                                                                                                     ZIP CODE
                      Type of Debtor                                      Nature of Business                               Chapter of Bankruptcy Code Under Which
                  (Form of Organization)                      (Check one box.)                                                the Petition is Filed (Check one box.)
                     (Check one box.)
                                                                   Health Care Business                         ✔       Chapter 7               Chapter 15 Petition for
  ✔     Individual (includes Joint Debtors)                        Single Asset Real Estate as defined in               Chapter 9               Recognition of a Foreign
        See Exhibit D on page 2 of this form.                      11 U.S.C. § 101(51B)                                 Chapter 11              Main Proceeding
        Corporation (includes LLC and LLP)                         Railroad                                             Chapter 12              Chapter 15 Petition for
        Partnership                                                Stockbroker                                          Chapter 13              Recognition of a Foreign
        Other (If debtor is not one of the above entities,         Commodity Broker                                                             Nonmain Proceeding
        check this box and state type of entity below.)            Clearing Bank
                                                                   Other                                                                 Nature of Debts
                                                              ___________________________________                                        (Check one box.)
 __________________________________________                              Tax-Exempt Entity
                                                                      (Check box, if applicable.)               ✔ Debts are primarily consumer              Debts are primarily
                                                                                                                      debts, defined in 11 U.S.C.           business debts.
                                                                      Debtor is a tax-exempt organization             § 101(8) as “incurred by an
                                                                      under Title 26 of the United States             individual primarily for a
                                                                      Code (the Internal Revenue Code).               personal, family, or house-
                                                                                                                      hold purpose.”
                                 Filing Fee (Check one box.)                                                                     Chapter 11 Debtors
                                                                                                Check one box:
  ✔     Full Filing Fee attached.                                                                   Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).

        Filing Fee to be paid in installments (applicable to individuals only). Must attach           Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        signed application for the court’s consideration certifying that the debtor is
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.           Check if:
                                                                                                    Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                insiders or affiliates) are less than $2,190,000.
        attach signed application for the court’s consideration. See Official Form 3B.          -----------------------------------
                                                                                                Check all applicable boxes:
                                                                                                    A plan is being filed with this petition.
                                                                                                    Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                    of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                         THIS SPACE IS FOR
                                                                                                                                                                COURT USE ONLY
           Debtor estimates that funds will be available for distribution to unsecured creditors.
  ✔        Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
           distribution to unsecured creditors.
 Estimated Number of Creditors
  ✔
 1-49          50-99           100-199        200-999        1,000-          5,001-         10,001-         25,001-           50,001-          Over
                                                             5,000           10,000         25,000          50,000            100,000          100,000

 Estimated Assets
                                               ✔
 $0 to         $50,001 to      $100,001 to    $500,001       $1,000,001      $10,000,001    $50,000,001     $100,000,001      $500,000,001     More than
 $50,000       $100,000        $500,000       to $1          to $10          to $50         to $100         to $500           to $1 billion    $1 billion
                                              million        million         million        million         million
 Estimated Liabilities
                                               ✔
 $0 to         $50,001 to      $100,001 to    $500,001       $1,000,001      $10,000,001    $50,000,001     $100,000,001      $500,000,001     More than
 $50,000       $100,000        $500,000       to $1          to $10          to $50         to $100         to $500           to $1 billion    $1 billion
                                              million        million         million        million         million
                   Case
B 1 (Official Form 1) (1/08) 09-16956           Doc 1 Filed 05/09/09 Entered 05/09/09 11:42:06 Desc Main                                           Page 2
 Voluntary Petition                                          Document              Page
                                                                                    Name of2     of 33
                                                                                               Debtor(s):
 (This page must be completed and filed in every case.)                              Ostrander, Joseph C., Jr., and Ostrander, Christine S.
                                  All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                           Case Number:                                     Date Filed:
 Where Filed: None
 Location                                                                           Case Number:                                     Date Filed:
 Where Filed:
                    Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                    Case Number:                                     Date Filed:
                   None
 District:                                                                                     Relationship:                                    Judge:
                  Northern District of Illinois
                                        Exhibit A                                                                                Exhibit B
                                                                                                                 (To be completed if debtor is an individual
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                            whose debts are primarily consumer debts.)
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)            I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                               have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                               12, or 13 of title 11, United States Code, and have explained the relief
                                                                                               available under each such chapter. I further certify that I have delivered to the
                                                                                               debtor the notice required by 11 U.S.C. § 342(b).

        Exhibit A is attached and made a part of this petition.                                X    /s/ Phillip A. Olson                       4/16/2009
                                                                                                   Signature of Attorney for Debtor(s)       (Date)

                                                                                   Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

        Yes, and Exhibit C is attached and made a part of this petition.

 ✔      No.



                                                                                  Exhibit D

 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

     ✔ Exhibit D completed and signed by the debtor is attached and made a part of this petition.

 If this is a joint petition:

     ✔ Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                  Information Regarding the Debtor - Venue
                                                                           (Check any applicable box.)
              ✔      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                     preceding the date of this petition or for a longer part of such 180 days than in any other District.

                     There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                     Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or
                     has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
                     this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                               Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                       (Check all applicable boxes.)

                       Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                               (Name of landlord that obtained judgment)



                                                                                               (Address of landlord)

                       Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                       entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                       Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the
                       filing of the petition.

                       Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                  Case 09-16956                  Doc 1          Filed 05/09/09 Entered 05/09/09 11:42:06                                      Desc Main
B 1 (Official Form) 1 (1/08)                                      Document     Page 3 of 33                                                                        Page 3
Voluntary Petition                                                                          Name of Debtor(s):
(This page must be completed and filed in every case.)                                      Ostrander, Joseph C., Jr., and Ostrander, Christine S.
                                                                                    Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                                    Signature of a Foreign Representative

I declare under penalty of perjury that the information provided in this petition is true   I declare under penalty of perjury that the information provided in this petition is true
and correct.                                                                                and correct, that I am the foreign representative of a debtor in a foreign proceeding,
[If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, understand the relief available under each such      (Check only one box.)
chapter, and choose to proceed under chapter 7.
                                                                                                 I request relief in accordance with chapter 15 of title 11, United States Code.
[If no attorney represents me and no bankruptcy petition preparer signs the petition] I          Certified copies of the documents required by 11 U.S.C. § 1515 are attached.
have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                 Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States Code,                 chapter of title 11 specified in this petition. A certified copy of the
specified in this petition.                                                                       order granting recognition of the foreign main proceeding is attached.

X      /s/ Joseph C. Ostrander, Jr.                                                         X
     Signature of Debtor                                                                         (Signature of Foreign Representative)

X      /s/ Chrstine S. Ostrander
     Signature of Joint Debtor                                                                   (Printed Name of Foreign Representative)

     Telephone Number (if not represented by attorney)
       4/16/2009                                                                                 Date
     Date
                                 Signature of Attorney*                                                 Signature of Non-Attorney Bankruptcy Petition Preparer

X      /s/ Phillip A. Olson                                                                 I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
     Signature of Attorney for Debtor(s)                                                    defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
       Phillip A. Olson                                                                     provided the debtor with a copy of this document and the notices and information
     Printed Name of Attorney for Debtor(s)                                                 required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
       Charles P. Pavesich & Associates, Ltd.                                               guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum
     Firm Name                                                                              fee for services chargeable by bankruptcy petition preparers, I have given the debtor
               1011 E. Roosevelt Rd., Lombard, IL 60148                                     notice of the maximum amount before preparing any document for filing for a debtor
     Address                                                                                or accepting any fee from the debtor, as required in that section. Official Form 19 is
                                                                                            attached.

       (630) 495-9550
     Telephone Number                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer
       4/16/2009
     Date                                                                                        Social-Security number (If the bankruptcy petition preparer is not an individual,
                                                                                                 state the Social-Security number of the officer, principal, responsible person or
*In a case in which § 707(b)(4)(D) applies, this signature also constitutes a                    partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
certification that the attorney has no knowledge after an inquiry that the information
in the schedules is incorrect.
                                                                                                 Address
                  Signature of Debtor (Corporation/Partnership)

I declare under penalty of perjury that the information provided in this petition is true   X
and correct, and that I have been authorized to file this petition on behalf of the
debtor.
                                                                                                 Date
The debtor requests the relief in accordance with the chapter of title 11, United States
Code, specified in this petition.                                                           Signature of bankruptcy petition preparer or officer, principal, responsible person, or
                                                                                            partner whose Social-Security number is provided above.
X
     Signature of Authorized Individual                                                     Names and Social-Security numbers of all other individuals who prepared or assisted
                                                                                            in preparing this document unless the bankruptcy petition preparer is not an
     Printed Name of Authorized Individual
                                                                                            individual.
     Title of Authorized Individual
                                                                                            If more than one person prepared this document, attach additional sheets conforming
     Date                                                                                   to the appropriate official form for each person.

                                                                                            A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
                                                                                            the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                            both. 11 U.S.C. § 110; 18 U.S.C. § 156.
   Case 09-16956         Doc 1       Filed 05/09/09 Entered 05/09/09 11:42:06          Desc Main
                                       Document     Page 4 of 33


Official Form 1, Exhibit D (10/06)

                            UNITED STATES BANKRUPTCY COURT

                             Northern
                         _________________District         Illinois
                                                   of_________________


        In re__________________________
             Ostrander, Joseph C., Jr. and Ostrander, Christine C. Case No._____________
               Debtor(s)                                                        (if known)



    EXHIBIT D - INDIVIDUAL DEBTOR=S STATEMENT OF COMPLIANCE WITH
                    CREDIT COUNSELING REQUIREMENT

        Warning: You must be able to check truthfully one of the five statements regarding
credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
case, and the court can dismiss any case you do file. If that happens, you will lose whatever
filing fee you paid, and your creditors will be able to resume collection activities against
you. If your case is dismissed and you file another bankruptcy case later, you may be
required to pay a second filing fee and you may have to take extra steps to stop creditors=
collection activities.

       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
must complete and file a separate Exhibit D. Check one of the five statements below and attach
any documents as directed.

       Q
       ✔ 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
developed through the agency.

        Q 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the
services provided to you and a copy of any debt repayment plan developed through the agency
no later than 15 days after your bankruptcy case is filed.
  Case 09-16956       Doc 1     Filed 05/09/09 Entered 05/09/09 11:42:06            Desc Main
                                  Document     Page 5 of 33


Official Form 1, Exh. D (10/06) – Cont.


        Q 3. I certify that I requested credit counseling services from an approved agency but was
unable to obtain the services during the five days from the time I made my request, and the
following exigent circumstances merit a temporary waiver of the credit counseling requirement
so I can file my bankruptcy case now. [Must be accompanied by a motion for determination by
the court.][Summarize exigent circumstances here.] _________________________________
                                                                                                  .

        If the court is satisfied with the reasons stated in your motion, it will send you an
order approving your request. You must still obtain the credit counseling briefing within
the first 30 days after you file your bankruptcy case and promptly file a certificate from the
agency that provided the briefing, together with a copy of any debt management plan
developed through the agency. Any extension of the 30-day deadline can be granted only
for cause and is limited to a maximum of 15 days. A motion for extension must be filed
within the 30-day period. Failure to fulfill these requirements may result in dismissal of
your case. If the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing, your case may be dismissed.

       Q 4. I am not required to receive a credit counseling briefing because of: [Check the
applicable statement.] [Must be accompanied by a motion for determination by the court.]
               Q Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
       illness or mental deficiency so as to be incapable of realizing and making rational
       decisions with respect to financial responsibilities.);
               Q Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
       extent of being unable, after reasonable effort, to participate in a credit counseling
       briefing in person, by telephone, or through the Internet.);
               Q Active military duty in a military combat zone.

       Q 5. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.S.C. ' 109(h) does not apply in this district.


       I certify under penalty of perjury that the information provided above is true and
correct.


Signature of Debtor: ________________________________
                             /s/ Joseph C. Ostrander, Jr.

Date: _________________
              4/16/2009




                                                2
   Case 09-16956         Doc 1       Filed 05/09/09 Entered 05/09/09 11:42:06          Desc Main
                                       Document     Page 6 of 33


Official Form 1, Exhibit D (10/06)

                            UNITED STATES BANKRUPTCY COURT

                             Northern
                         _________________District         Illinois
                                                   of_________________


        In re__________________________
             Ostrander, Joseph C., Jr. and Ostrander, Christine C. Case No._____________
               Debtor(s)                                                        (if known)



    EXHIBIT D - INDIVIDUAL DEBTOR=S STATEMENT OF COMPLIANCE WITH
                    CREDIT COUNSELING REQUIREMENT

        Warning: You must be able to check truthfully one of the five statements regarding
credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
case, and the court can dismiss any case you do file. If that happens, you will lose whatever
filing fee you paid, and your creditors will be able to resume collection activities against
you. If your case is dismissed and you file another bankruptcy case later, you may be
required to pay a second filing fee and you may have to take extra steps to stop creditors=
collection activities.

       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
must complete and file a separate Exhibit D. Check one of the five statements below and attach
any documents as directed.

       Q
       ✔ 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
developed through the agency.

        Q 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the
services provided to you and a copy of any debt repayment plan developed through the agency
no later than 15 days after your bankruptcy case is filed.
  Case 09-16956       Doc 1     Filed 05/09/09 Entered 05/09/09 11:42:06            Desc Main
                                  Document     Page 7 of 33


Official Form 1, Exh. D (10/06) – Cont.


        Q 3. I certify that I requested credit counseling services from an approved agency but was
unable to obtain the services during the five days from the time I made my request, and the
following exigent circumstances merit a temporary waiver of the credit counseling requirement
so I can file my bankruptcy case now. [Must be accompanied by a motion for determination by
the court.][Summarize exigent circumstances here.] _________________________________
                                                                                                  .

        If the court is satisfied with the reasons stated in your motion, it will send you an
order approving your request. You must still obtain the credit counseling briefing within
the first 30 days after you file your bankruptcy case and promptly file a certificate from the
agency that provided the briefing, together with a copy of any debt management plan
developed through the agency. Any extension of the 30-day deadline can be granted only
for cause and is limited to a maximum of 15 days. A motion for extension must be filed
within the 30-day period. Failure to fulfill these requirements may result in dismissal of
your case. If the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing, your case may be dismissed.

       Q 4. I am not required to receive a credit counseling briefing because of: [Check the
applicable statement.] [Must be accompanied by a motion for determination by the court.]
               Q Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
       illness or mental deficiency so as to be incapable of realizing and making rational
       decisions with respect to financial responsibilities.);
               Q Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
       extent of being unable, after reasonable effort, to participate in a credit counseling
       briefing in person, by telephone, or through the Internet.);
               Q Active military duty in a military combat zone.

       Q 5. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.S.C. ' 109(h) does not apply in this district.


       I certify under penalty of perjury that the information provided above is true and
correct.


Signature of Debtor: ________________________________
                              /s/ Christine S. Ostrander

Date: _________________
              4/16/2009




                                                2
                  Case 09-16956
FORM B6A (10/89) West Group, Rochester, NY   Doc 1        Filed 05/09/09 Entered 05/09/09 11:42:06                              Desc Main
                                                            Document     Page 8 of 33

In re Ostrander, Joseph C., Jr. and Ostrander, Christine S.                                          / Debtor          Case No.
                                                                                                                                                      (if known)


                                                  SCHEDULE A-REAL PROPERTY
Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant,
community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor's
own benefit. If the debtor is married, state whether the husband, wife, or both own the property by placing an "H," "W," "J," or "C" in the column labeled
"Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under "Description and Location of Property."

Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts and Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold
a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C-Property Claimed as
Exempt.

                                                                                                                       Current Market
             Description and Location of Property                              Nature of Debtor's                                               Amount of
                                                                                                                           Value
                                                                              Interest in Property                                            Secured Claim
                                                                                                                      of Debtor's Interest,
                                                                                                       Husband--H     in Property Without
                                                                                                          Wife--W        Deducting any
                                                                                                          Joint--J     Secured Claim or
                                                                                                     Community--C          Exemption

526 Senon Drive                                                   Fee Simple                                     J     $ 535,000.00           $ 535,000.00




No continuation sheets attached                                                                 TOTAL $                 535,000.00
                                                                        (Report also on Summary of Schedules.)
                        Case 09-16956
FORM B6B (10/89) West Group, Rochester, NY              Doc 1   Filed 05/09/09 Entered 05/09/09 11:42:06                             Desc Main
                                                                  Document     Page 9 of 33
In re Ostrander, Joseph C., Jr. and Ostrander, Christine S.                                               / Debtor            Case No.
                                                                                                                                                                 (if known)

                                                        SCHEDULE B-PERSONAL PROPERTY
Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an
"X" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified with
the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own property by placing an
"H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint petition is filed, state the amount of any
exemptions claimed only in Schedule C-Property Claimed as Exempt.
Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts and Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."

                                                                                                                                                 Current Market
               Type of Property                    N             Description and Location of Property                                                Value
                                                                                                                                                of Debtor's Interest,
                                                   o                                                                         Husband--H         in Property Without
                                                                                                                                Wife--W            Deducting any
                                                   n                                                                                             Secured Claim or
                                                                                                                                Joint--J
                                                   e                                                                       Community--C              Exemption

1. Cash on hand.                                   X

2. Checking, savings or other financial                Checking account, National City Bank                                             J                     $ 0.00
   accounts, certificates of deposit, or shares
   in banks, savings and loan, thrift, building        Location: In debtor's possession
   and loan, and homestead associations, or
   credit unions, brokerage houses, or
   cooperatives.

3. Security deposits with public utilities,        X
   telephone companies, landlords, and
   others.
4. Household goods and furnishings,                    Household goods and furnishings                                                  J             $ 1,000.00
   including audio, video, and computer
   equipment.                                          Location: In debtor's possession


5. Books, pictures and other art objects,          X
   antiques, stamp, coin, record, tape,
   compact disc, and other collections or
   collectibles.

6. Wearing apparel.                                    Wearing apparel                                                                  J                 $ 300.00
                                                       Location: In debtor's possession


7. Furs and jewelry.                                   Jewelry                                                                          J             $ 3,000.00
                                                       Location: In debtor's possession


8. Firearms and sports, photographic, and          X
   other hobby equipment.

9. Interests in insurance policies. Name           X
   insurance company of each policy and
   itemize surrender or refund value of each.

10. Annuities. Itemize and name each issuer.       X

11. Interests in IRA, ERISA, Keogh, or other       X
    pension or profit sharing plans. Itemize.

12. Stock and interests in incorporated and        X
    unincorporated businesses. Itemize.

13. Interests in partnerships or joint ventures.   X
    Itemize.

14. Goverment and corporate bonds and              X
    other negotiable and non-negotiable
    instruments.

15. Accounts Receivable.                           X


Page       1     of     3
                         Case 09-16956
FORM B6B (10/89) West Group, Rochester, NY              Doc 1   Filed 05/09/09 Entered 05/09/09 11:42:06                    Desc Main
                                                                 Document     Page 10 of 33
In re Ostrander, Joseph C., Jr. and Ostrander, Christine S.                                             / Debtor     Case No.
                                                                                                                                                    (if known)

                                                        SCHEDULE B-PERSONAL PROPERTY
                                                                          (Continuation Sheet)

                                                                                                                                    Current Market
               Type of Property                    N             Description and Location of Property                                   Value
                                                                                                                                   of Debtor's Interest,
                                                   o                                                                 Husband--H    in Property Without
                                                                                                                        Wife--W       Deducting any
                                                   n                                                                                Secured Claim or
                                                                                                                        Joint--J
                                                   e                                                               Community--C         Exemption

16. Alimony, maintenance, support, and             X
    property settlements to which the debtor
    is or may be entitled. Give particulars.

17. Other liquidated debts owing debtor            X
    include tax refunds. Give particulars.

18. Equitable or future interests, life estates,   X
    and rights or powers exercisable for the
    benefit of the debtor other than those
    listed in Schedule of Real Property.

19. Contingent and non-contingent interests        X
    in estate of a decedent, death benefit
    plan, life insurance policy, or trust.
20. Other contingent and unliquidated claims       X
    of every nature, including tax refunds,
    counterclaims of the debtor, and rights to
    setoff claims. Give estimated value of
    each.
21. Patents, copyrights, and other intellectual    X
    property. Give particulars.

22. Licenses, franchises, and other general        X
    intangibles. Give particulars.

23. Automobiles, trucks, trailers and other            2001 Ford Explorer                                                     J          $ 4,000.00
    vehicles.
                                                       Location: In debtor's possession


                                                       2006 Ford Freestar                                                     W         $ 11,495.00
                                                       Location: In debtor's possession


24. Boats, motors, and accessories.                    '98 Sulvan fishing boat                                                J          $ 6,000.00
                                                       Location: In debtor's possession


25. Aircarft and accessories.                      X

26. Office equipment, furnishings, and             X
    supplies.

27. Machinery, fixtures, equipment and             X
    supplies used in business.

28. Inventory.                                     X

29. Animals.                                           Golden Retreiver                                                       J                Unknown
                                                       Location: In debtor's possession


30. Crops - growing or harvested.                  X
    Give particulars.

31. Farming equipment and implements.              X


Page       2     of      3
                       Case 09-16956
FORM B6B (10/89) West Group, Rochester, NY        Doc 1   Filed 05/09/09 Entered 05/09/09 11:42:06                        Desc Main
                                                           Document     Page 11 of 33
In re Ostrander, Joseph C., Jr. and Ostrander, Christine S.                                      / Debtor         Case No.
                                                                                                                                                     (if known)

                                                  SCHEDULE B-PERSONAL PROPERTY
                                                                   (Continuation Sheet)

                                                                                                                                     Current Market
              Type of Property                N           Description and Location of Property                                           Value
                                                                                                                                    of Debtor's Interest,
                                              o                                                                   Husband--H        in Property Without
                                                                                                                     Wife--W           Deducting any
                                              n                                                                                      Secured Claim or
                                                                                                                     Joint--J
                                              e                                                                 Community--C             Exemption

32. Farm supplies, chemicals, and feed.       X

33. Other personal property of any kind not   X
    already listed. Itemize.




Page      3     of     3                                                                                     Total                         $ 25,795.00
                                                                                                                 (Report total also on Summary of Schedules.)
                                                                                                       Include amounts from any continuation sheets attached.
                  Case 09-16956
FORM B6C (6/90) West Group, Rochester, NY     Doc 1       Filed 05/09/09 Entered 05/09/09 11:42:06                           Desc Main
                                                           Document     Page 12 of 33


In re Ostrander, Joseph C., Jr. and Ostrander, Christine S.                                         / Debtor          Case No.
                                                                                                                                                      (if known)

                                  SCHEDULE C-PROPERTY CLAIMED AS EXEMPT
Debtor elects the exemptions to which debtor is entitled under:
(Check one box)
   11 U.S.C. § 522(b) (1): Exemptions provided in 11 U.S.C. § 522(d). Note: These exemptions are available only in certain states.
   11 U.S.C. § 522(b) (2): Exemptions available under applicable nonbankruptcy federal laws, state or local law where the debtor's domicile has been
                           located for the 180 days immediately preceding the filing of the petition, or for a longer portion of the 180-day period than in any
                           other place, and the debtor's interest as a tenant by the entirety or joint tenant to the extent the interest is exempt from process
                           under applicable nonbankruptcy law.


                                                                       Specify Law                                  Value of             Current Market
            Description of Property                                   Providing each                                Claimed             Value of Property
                                                                        Exemption                                  Exemption            Without Deducting
                                                                                                                                           Exemptions

Household goods and furnishings                    735 ILCS 5/12-1001(e)                                             $ 1,000.00                $ 1,000.00


Wearing apparel                                    735 ILCS 5/12-1001(a)                                                $ 300.00                  $ 300.00


Jewelry                                            735 ILCS 5/12-1001(b)                                             $ 3,000.00                $ 3,000.00


2001 Ford Explorer                                 735 ILCS 5/12-1001(c)                                             $ 4,000.00                $ 4,000.00




                                                                                                                                      Page No.     1 of      1
                   Case 09-16956
FORM B6D (6/90) West Group, Rochester, NY     Doc 1          Filed 05/09/09 Entered 05/09/09 11:42:06                                           Desc Main
                                                              Document     Page 13 of 33
In re Ostrander, Joseph C., Jr. and Ostrander, Christine S.                                             / Debtor                        Case No.
                                                                                                                                                                 (if known)

                           SCHEDULE D-CREDITORS HOLDING SECURED CLAIMS
State the name, mailing address, including zip code, and account number, if any, of all entities holding claims secured by property of the debtor as of the
date of filing of the petition. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of
trust, and other security interests. List creditors in alphabetical order to the extent practicable. If all secured creditors will not fit on this page, use the
continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column marked "Codebtor," include the entity on the
appropriate schedule of creditors and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on the
Summary of Schedules.

   Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

                                                                                                                        C   U   D
      Creditor's Name and Mailing Address         C   Date Claim was Incurred,                                          o   n   i     Amount of Claim       Unsecured
                                                  o                                                                     n   l   s
                                                      Nature of Lien, and Description and                                   i             Without       Portion, if any
                 Including Zip Code               d                                                                     t       p
                                                                                                                        i   q
                                                  e   Market Value of Property Subject to Lien                              u
                                                                                                                                u     Deducting Value
                                                                                                                        n       t
                                                  b                                                                         i
                                                      H--Husband
                                                                                                                        g
                                                                                                                            d   e       of Collateral
                                                  t                                                                     e   a   d
                                                      W--Wife
                                                  o                                                                     n   t
                                                      J--Joint                                                              e
                                                  r                                                                     t
                                                      C--Community                                                          d
Account No:
          07203086413                                 H                                                                                  $ 10,000.00         $ 4,000.00
Creditor # : 1                                            Purchase Money Security
Citizens Bank
PO Box 1790
Flint MI 48501-1790

                                                          Value:   $ 6,000.00
Account No:6818                                       W                                                                                  $ 18,246.00         $ 6,751.00
Creditor # : 2                                            Purchase Money Security
First Northern Credit Union
230 W Monroe
Suite 2850
Chicago IL 60606-4902
                                                          Value:   $ 11,495.00
Account No:
          150794873                                   J                                                                                  $ 37,142.19         $ 3,003.03
Creditor # : 3                                            Purchase Money Security
GE Money Bank
7360 S. Kyrene Rd.
Tempe AZ 85283

                                                          Value:   $ 535,000.00
Account No:
          0004332144                                  J                                                                                $ 451,525.77               $ 0.00
Creditor # : 4                                            1st Mortgage
National City Mortgage Co.
PO Box 1820
Dayton OH 45401-1820

                                                          Value:   $ 535,000.00
Account No:
          5623753833653025                            J                                                                                  $ 49,335.07              $ 0.00
Creditor # : 5                                            2nd Mortgage
National City
PO Box 5570, Loc 7107
Cleveland OH 44101-0570

                                                          Value:   $ 535,000.00
No continuation sheets attached                                                                                   Subtotal $               566,249.03
                                                                                                               (Total of this page)
                                                                                                                        Total $            566,249.03
                                                               (Use only on last page. Report total also on Summary of Schedules)
                   Case 09-16956
FORM B6E (4/98) West Group, Rochester, NY             Doc 1            Filed 05/09/09 Entered 05/09/09 11:42:06                                                   Desc Main
                                                                        Document     Page 14 of 33

In re Ostrander, Joseph C., Jr. and Ostrander, Christine S.                                                          / Debtor                          Case No.
                                                                                                                                                                              (if known)

              SCHEDULE E-CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
            A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name and mailing address,
including zip code, and account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the
filing of the petition.

          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them or the
marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

          If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three
columns.)

          Report the total of claims listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all claims listed on this Schedule E in
the box labeled "Total" on the last sheet of the completed schedule. Repeat this total also on the Summary of Schedules.

     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS

     Check the appropriate box(es) below if claims in that category are listed on the attached sheets.


     Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
     appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(2).


     Wages, salaries, and commissions
     Wages, salaries, and commisions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
     independent sales representatives up to $4300* per person earned within 90 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(3).


     Contributions to employee benefit plans
     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation
     of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).


     Certain farmers and fishermen
     Claims of certain farmers and fishermen, up to $4300* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(5).


     Deposits by individuals
     Claims of individuals up to $1950* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
     were not delivered or provided. 11 U.S.C. § 507(a)(6).


     Alimony, Maintenance or Support
     Claims of a spouse, former spouse, or child of the debtor, for alimony, maintenance or support, to the extent provided in 11 U.S.C. § 507(a)(7).


     Taxes and Certain Other Debts Owed to Governmental Units
     Taxes, custom duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


     Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the
     Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507(a)(9).
               *Amounts are subject to adjustment on April 1, 2001, end every three years thereafter with respect to cases commenced on or after the date of adjustment.


                                                                            No continuation sheets attached
                   Case 09-16956
FORM B6F (9/97) West Group, Rochester, NY      Doc 1        Filed 05/09/09 Entered 05/09/09 11:42:06                                        Desc Main
                                                             Document     Page 15 of 33

In re Ostrander, Joseph C., Jr. and Ostrander, Christine S.                                      / Debtor                        Case No.
                                                                                                                                                             (if known)

          SCHEDULE F-CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
State the name, mailing address, including zip code, and account number, if any, of all entities holding unsecured claims without priority against the debtor or
the property of the debtor, as of the date of filing of the petition. Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use
the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on the Summary
of Schedules.


   Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.

                                                                                                                                   C    U     D
      Creditor's Name and Mailing Address               C          Date Claim was Incurred,                                                        Amount of Claim
                                                                                                                                   o    n     i
                                                        o                                                                          n    l     s
                                                        d          and Consideration for Claim.                                         i
                 including Zip Code                                                                                                t    q     p
                                                        e          If Claim is Subject to Setoff, so State.                        i          u
                                                                                                                                        u
                                                                                                                                   n          t
                                                        b                                                                          g
                                                                                                                                        i
                                                                                                                                        d     e
                                                        t H--Husband                                                               e    a     d
                                                        o W--Wife                                                                  n    t
                                                        r J--Joint                                                                 t    e
                                                                                                                                        d
                                                           C--Community
Account No:
          118007905                                         H                                                                                               $ 470.00
Creditor # : 1                                                  Medical Bills
Advocate Good Samaritan Hosp                                    Also acc. 118730639, 118288141,
3815 Hignland Ave.
                                                                118233683, 118730639, 10909419
Downers Grove IL 60515


Account No:

Representing:                                                   Illinois Collection Service
                                                                PO Box 1010
Advocate Good Samaritan Hosp                                    Tinley Park IL 60477-9110



Account No:
          4888930402204702                                  W                                                                                                $ 13.44
Creditor # : 2                                                  Credit Card Purchases
Bank of America
PO Box 15026
Wilmington DE 19850-5028


Account No:
          7021271212493164                                  H                                                                                            $ 4,030.00
Creditor # : 3                                                  Credit Card Purchases
Best Buy
PO Box 5244
Carol Stream IL 60197-5244


Account No:
          5178057266027304                                  H                                                                                            $ 1,061.00
Creditor # : 4                                                  Credit Card Purchases
Capital One
P.O. Box 30285
Salt Lake City UT 84130-0285


    5 continuation sheets attached                                                                                             Subtotal $                   5,574.44
                                                                                                                            (Total of this page)
                                                                                                                                     Total $
                                                                                                   (Report total also on Summary of Schedules)
                  Case 09-16956
FORM B6F (9/97) West Group, Rochester, NY    Doc 1       Filed 05/09/09 Entered 05/09/09 11:42:06                                       Desc Main
                                                          Document     Page 16 of 33

In re Ostrander, Joseph C., Jr. and Ostrander, Christine S.                                   / Debtor                       Case No.
                                                                                                                                                         (if known)

            SCHEDULE F-CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                       (Continuation Sheet)

                                                                                                                               C    U     D
      Creditor's Name and Mailing Address            C          Date Claim was Incurred,                                                       Amount of Claim
                                                                                                                               o    n     i
                                                     o                                                                         n    l     s
                                                     d          and Consideration for Claim.                                        i
                 including Zip Code                                                                                            t    q     p
                                                     e          If Claim is Subject to Setoff, so State.                       i          u
                                                                                                                                    u
                                                                                                                               n          t
                                                     b                                                                         g
                                                                                                                                    i
                                                                                                                                    d     e
                                                     t H--Husband                                                              e    a     d
                                                     o W--Wife                                                                 n    t
                                                     r J--Joint                                                                t    e
                                                                                                                                    d
                                                        C--Community
Account No:

Representing:                                               Allied Interstate
                                                            3000 Corporate Exchange
Capital One                                                 5th Fl
                                                            Columbus OH 43231


Account No:
          OST114                                        J                                                                                               $ 861.54
Creditor # : 5                                               Consumer purchase
Carefree Lawn Sprinklers, Inc.
22049 S. Howell Dr
New Lenox IL 60451


Account No:
          1244138161                                    H                                                                                               $ 811.82
Creditor # : 6                                               Credit Card Purchases
Carson Pirie Scott
PO Box 15521
Wilmington DE 19850-5521


Account No:
          5233311001                                    W                                                                                                $ 59.32
Creditor # : 7                                               Medical Bills
Central DuPage Hosspital
25 N. Winfield Rd
Winfield IL 60190-1295


Account No:4266841156909325                             H                                                                                            $ 8,511.42
Creditor # : 8                                               Credit Card Purchases
Chase Visa
PO Box 15153
Wilmington DE 19886-5153


Account No:
          1820000012918567                              H                                                                                            $ 3,219.12
Creditor # : 9                                               Credit Card Purchases
Chase/Circuit City
PO Box 15298
Wilmington DE 19850-5298


Account No:
          8255909144248884                              H                                                                                                $ 81.95
Creditor # : 10                                              Calble TV
Dish Network
PO Box 9033
Littleton CO 80160


Sheet No.     1 of       5 continuation sheets attached to Schedule of                                                     Subtotal $                  13,545.17
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)
                                                                                                                                 Total $
                                                                                               (Report total also on Summary of Schedules)
                  Case 09-16956
FORM B6F (9/97) West Group, Rochester, NY    Doc 1       Filed 05/09/09 Entered 05/09/09 11:42:06                                       Desc Main
                                                          Document     Page 17 of 33

In re Ostrander, Joseph C., Jr. and Ostrander, Christine S.                                   / Debtor                       Case No.
                                                                                                                                                         (if known)

            SCHEDULE F-CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                       (Continuation Sheet)

                                                                                                                               C    U     D
      Creditor's Name and Mailing Address            C          Date Claim was Incurred,                                                       Amount of Claim
                                                                                                                               o    n     i
                                                     o                                                                         n    l     s
                                                     d          and Consideration for Claim.                                        i
                 including Zip Code                                                                                            t    q     p
                                                     e          If Claim is Subject to Setoff, so State.                       i          u
                                                                                                                                    u
                                                                                                                               n          t
                                                     b                                                                         g
                                                                                                                                    i
                                                                                                                                    d     e
                                                     t H--Husband                                                              e    a     d
                                                     o W--Wife                                                                 n    t
                                                     r J--Joint                                                                t    e
                                                                                                                                    d
                                                        C--Community
Account No:003184                                       H                                                                                                $ 34.74
Creditor # : 11                                              Medical Bills
DuPage Emerg Phys Conv Care
PO Box 366
Hinsdale IL 60522


Account No:
          28146749                                      H                                                                                               $ 204.00
Creditor # : 12                                              Medical Bills
EPI, PC
Dept 4006
PO Box 30516
Lancing MI 48909-8016

Account No:
          10064576-66                                   W                                                                                            $ 1,240.60
Creditor # : 13                                              Credit Card Purchases
GE Money Bank/Old Navy
c/o CAC Fin Corp
2601 NW Expwy, Ste 1000E
Oklahoma City OK 73112-7236

Account No:
          118233683                                     W                                                                                                $ 56.80
Creditor # : 14                                              Medical Bills
Good Samaritan Hoapital                                      Also acc. 118288141
3815 Highland Ave
Downers Grove IL 60515


Account No:
          5201180039806183                              H                                                                                            $ 1,124.42
Creditor # : 15                                              Credit Card Purchases
HSBC
PO Box 17051
Baltimore MD 21297-1051


Account No:

Representing:                                               James A; West, P.C.
                                                            6380 Rogerdale Rd.
HSBC                                                        Suite 130
                                                            Houston TX 77072-1624


Account No:
          7021271212493164                              H                                                                                            $ 4,030.86
Creditor # : 16                                              Credit Card Purchases
HSBC Retail Services
P.O. Box 5244
Carol Stream IL 60197-5244


Sheet No.     2 of       5 continuation sheets attached to Schedule of                                                     Subtotal $                   6,691.42
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)
                                                                                                                                 Total $
                                                                                               (Report total also on Summary of Schedules)
                  Case 09-16956
FORM B6F (9/97) West Group, Rochester, NY    Doc 1       Filed 05/09/09 Entered 05/09/09 11:42:06                                       Desc Main
                                                          Document     Page 18 of 33

In re Ostrander, Joseph C., Jr. and Ostrander, Christine S.                                   / Debtor                       Case No.
                                                                                                                                                         (if known)

            SCHEDULE F-CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                       (Continuation Sheet)

                                                                                                                               C    U     D
      Creditor's Name and Mailing Address            C          Date Claim was Incurred,                                                       Amount of Claim
                                                                                                                               o    n     i
                                                     o                                                                         n    l     s
                                                     d          and Consideration for Claim.                                        i
                 including Zip Code                                                                                            t    q     p
                                                     e          If Claim is Subject to Setoff, so State.                       i          u
                                                                                                                                    u
                                                                                                                               n          t
                                                     b                                                                         g
                                                                                                                                    i
                                                                                                                                    d     e
                                                     t H--Husband                                                              e    a     d
                                                     o W--Wife                                                                 n    t
                                                     r J--Joint                                                                t    e
                                                                                                                                    d
                                                        C--Community
Account No:
          0006004300106177592                           H                                                                                            $ 6,655.38
Creditor # : 17                                              Credit Card Purchases
HSBC Retail Services                                         Also acc. no. 176641100979896
P.O. Box 5244
Carol Stream IL 60197-5244


Account No:
          333638                                        W                                                                                                $ 90.20
Creditor # : 18                                              Medical Bills
Hand and Plastic Surgry Assoc
5046 Paysphere Circle
Chicago IL 60674


Account No:
          OSTJOS0001                                    H                                                                                               $ 177.20
Creditor # : 19                                              Medical Bills
Hand and Plastic Surgry Assoc
5046 Paysphere Circle
Chicago IL 60674


Account No:
          28146749                                      H                                                                                               $ 359.22
Creditor # : 20                                              Medical Bills
Holland Hospital
PO Box 3475
Toledo OH 43607-0475


Account No:6035320017624758                             H                                                                                            $ 2,672.51
Creditor # : 21                                              Credit Card Purchases
Home Depot
P.O. Box 689100
Des Moines IA 50368-9100


Account No:
          0277583910                                    W                                                                                            $ 1,623.10
Creditor # : 22                                              Credit Card Purchases
Kohl's
PO Box 3084
Milwaukee WI 53201-3084


Account No:
          0279703490                                    H                                                                                            $ 1,541.61
Creditor # : 23                                              Credit Card Purchases
Kohl's
PO Box 3084
Milwaukee WI 53201-3084


Sheet No.     3 of       5 continuation sheets attached to Schedule of                                                     Subtotal $                  13,119.22
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)
                                                                                                                                 Total $
                                                                                               (Report total also on Summary of Schedules)
                  Case 09-16956
FORM B6F (9/97) West Group, Rochester, NY    Doc 1       Filed 05/09/09 Entered 05/09/09 11:42:06                                       Desc Main
                                                          Document     Page 19 of 33

In re Ostrander, Joseph C., Jr. and Ostrander, Christine S.                                   / Debtor                       Case No.
                                                                                                                                                         (if known)

            SCHEDULE F-CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                       (Continuation Sheet)

                                                                                                                               C    U     D
      Creditor's Name and Mailing Address            C          Date Claim was Incurred,                                                       Amount of Claim
                                                                                                                               o    n     i
                                                     o                                                                         n    l     s
                                                     d          and Consideration for Claim.                                        i
                 including Zip Code                                                                                            t    q     p
                                                     e          If Claim is Subject to Setoff, so State.                       i          u
                                                                                                                                    u
                                                                                                                               n          t
                                                     b                                                                         g
                                                                                                                                    i
                                                                                                                                    d     e
                                                     t H--Husband                                                              e    a     d
                                                     o W--Wife                                                                 n    t
                                                     r J--Joint                                                                t    e
                                                                                                                                    d
                                                        C--Community
Account No:
          438727406290                                  H                                                                                               $ 413.00
Creditor # : 24                                              Credit Card Purchases
Macy's
111 Boulder Industrial Dr
Bridgeton Missouri 63044


Account No:
          6004300106177592                              H                                                                                            $ 4,800.00
Creditor # : 25                                              Credit Card Purchases
Menards
PO Box 15521
Wilmington DE 19850-5521


Account No:
          6004300106177592                              H                                                                                            $ 6,832.73
Creditor # : 26                                              Credit Card Purchases
Menards
PO Box 15521
Wilmington DE 19850-5521


Account No:86110004025137                               H                                                                                                $ 64.67
Creditor # : 27                                              Medical Bills
Midwest Diagnostic                                           Also acc. 8611004175261,
75 Remittance Dr
                                                             86110004365477
Suite 3070
Chicago IL 60675-3070

Account No:
          66833                                         H                                                                                            $ 2,000.00
Creditor # : 28                                              Medical Bills
New Oaklawn MR & Imaging
6240 W. 95th Street
Oak Lawn IL 60453


Account No:
          6018596030888998                              W                                                                                            $ 1,205.60
Creditor # : 29                                              Credit Card Purchases
Old Navy
PO Box 981064
El Paso TX 79998-1064


Account No:
          925438                                        W                                                                                               $ 560.00
Creditor # : 30                                              Medical Bills
R Griesemer MD
c/o NW Collectors Inc
3601 Algonquin, Ste 232
Rolling Meadows IL 60008-3106

Sheet No.     4 of       5 continuation sheets attached to Schedule of                                                     Subtotal $                  15,876.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)
                                                                                                                                 Total $
                                                                                               (Report total also on Summary of Schedules)
                  Case 09-16956
FORM B6F (9/97) West Group, Rochester, NY    Doc 1       Filed 05/09/09 Entered 05/09/09 11:42:06                                       Desc Main
                                                          Document     Page 20 of 33

In re Ostrander, Joseph C., Jr. and Ostrander, Christine S.                                   / Debtor                       Case No.
                                                                                                                                                         (if known)

            SCHEDULE F-CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                       (Continuation Sheet)

                                                                                                                               C    U     D
      Creditor's Name and Mailing Address            C          Date Claim was Incurred,                                                       Amount of Claim
                                                                                                                               o    n     i
                                                     o                                                                         n    l     s
                                                     d          and Consideration for Claim.                                        i
                 including Zip Code                                                                                            t    q     p
                                                     e          If Claim is Subject to Setoff, so State.                       i          u
                                                                                                                                    u
                                                                                                                               n          t
                                                     b                                                                         g
                                                                                                                                    i
                                                                                                                                    d     e
                                                     t H--Husband                                                              e    a     d
                                                     o W--Wife                                                                 n    t
                                                     r J--Joint                                                                t    e
                                                                                                                                    d
                                                        C--Community
Account No:
          28120000317951                                H                                                                                               $ 478.00
Creditor # : 31                                              Medical Bills
Radiologists of DuPage                                       Also acc. nos. 28110000402478,
520 E 22nd Street
                                                             28120000306363, 28110000318734
Lombad IL 60148


Account No:
          5049941396850429                              H                                                                                            $ 1,688.45
Creditor # : 32                                              Credit Card Purchases
Sears
PO Box 6283
Sioux Falls SD 57117-6283


Account No:

Representing:                                               NCO Fin Systems
                                                            PO Box 15630
Sears                                                       Dept 72
                                                            Wilmington DE 19850


Account No:5201180039806183                             H                                                                                               $ 915.23
Creditor # : 33                                              Credit Card Purchases
Sears/Kmart
PO Box 379
Wood Dale IL 60191-0379


Account No:
          011295755                                     H                                                                                               $ 456.82
Creditor # : 34                                              Credit Card Purchases
Von Maur
6565 Brady St.
Davenport IA 52806


Account No:
          008307829                                     W                                                                                                Unknown
Creditor # : 35                                              Credit Card Purchases
Von Maur
6565 Brady St.
Davenport IA 52806


Account No:




Sheet No.     5 of       5 continuation sheets attached to Schedule of                                                     Subtotal $                   3,538.50
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)
                                                                                                                                 Total $               58,344.75
                                                                                               (Report total also on Summary of Schedules)
                   Case 09-16956
FORM B6G (10/89) West Group, Rochester, NY     Doc 1        Filed 05/09/09 Entered 05/09/09 11:42:06                                Desc Main
                                                             Document     Page 21 of 33

In re Ostrander, Joseph C., Jr. and Ostrander, Christine S.                                              / Debtor           Case No.
                                                                                                                                                              (if known)


                SCHEDULE G-EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interests in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described.

NOTE: A party listed on this schedule will not receive notice of the filing of this case unless the party is also scheduled in the appropriate schedule of
     creditors.

   Check this box if the debtor has no executory contracts or unexpired leases.

              Name and Mailing Address,                                                     Description of Contract or Lease and
                including Zip Code, of                                                           Nature of Debtor's Interest.
                other Parties to Lease                                              State whether Lease is for Nonresidential Real Property.
                     or Contract                                                      State Contract Number of any Government Contract.




                                                                                                                                                 Page        1 of     1
                  Case 09-16956
FORM B6H (6/90) West Group, Rochester, NY    Doc 1       Filed 05/09/09 Entered 05/09/09 11:42:06                             Desc Main
                                                          Document     Page 22 of 33

In re Ostrander, Joseph C., Jr. and Ostrander, Christine S.                                          / Debtor          Case No.
                                                                                                                                                     (if known)


                                                     SCHEDULE H-CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by debtor in the
schedules of creditors. Include all guarantors and co-signers. In community property states, a married debtor not filing a joint case should report the name
and address of the nondebtor spouse on this schedule. Include all names used by the nondebtor spouse during the six years immediately preceding the
commencement of this case.
   Check this box if the debtor has no codebtors.

                      Name and Address of Codebtor                                                     Name and Address of Creditor




                                                                                                                                          Page      1 of      1
                      Case 09-16956
FORM B6I (6/90) West Group, Rochester, NY         Doc 1         Filed 05/09/09 Entered 05/09/09 11:42:06                        Desc Main
                                                                 Document     Page 23 of 33


In re Ostrander, Joseph C., Jr. and Ostrander, Christine S.                                               / Debtor      Case No.
                                                                                                                                                        (if known)


                        SCHEDULE I-CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 12 or 13 case whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed.
   Debtor's Marital                                                              DEPENDENTS OF DEBTOR AND SPOUSE
    Status:                    NAMES                                                              AGE          RELATIONSHIP
     Married                   NJO                                                               9 yrs.        Son
                               CSO                                                               7 yrs.        Daughter
                               CCO                                                               2 yrs.        Daughter
 EMPLOYMENT:                                               DEBTOR                                                              SPOUSE

 Occupation                   Fire Fighter/Paramedic
 Name of Employer             Tri State Fire Dept.
 How Long Employed            14 yrs.
 Address of Employer          419 Plainfield Rd.
                              Lemont IL 60439


 Occupation                   Fire Prevention
 Name of Employer             Village of Willow Springs
 How Long Employed            1
 Address of Employer          One Village Circle
                              Willow Springs IL 60480
 Income: (Estimate of average monthly income)                                                                        DEBTOR                    SPOUSE
 Current Monthly gross wages, salary, and commissions (pro rate if not paid monthly)                       $            11,635.92 $                        0.00
 Estimated Monthly Overtime                                                                                $                 0.00 $                        0.00
 SUBTOTAL                                                                                                  $            11,635.92 $                        0.00
     LESS PAYROLL DEDUCTIONS
      a. Payroll Taxes and Social Security                                                                 $             2,917.67    $                     0.00
      b. Insurance                                                                                         $               126.58    $                     0.00
      c. Union Dues                                                                                        $                85.46    $                     0.00
      d. Other (Specify): Pension                                                                          $               615.60    $                     0.00
 SUBTOTAL OF PAYROLL DEDUCTIONS                                                                            $             3,745.31    $                     0.00
 TOTAL NET MONTHLY TAKE HOME PAY                                                                           $             7,890.61 $                        0.00
 Regular income from operation of business or profession or farm (attach detailed statement)               $                  0.00   $                     0.00
 Income from Real Property                                                                                 $                  0.00   $                     0.00
 Interest and dividends                                                                                    $                  0.00   $                     0.00
 Alimony, maintenance or support payments payable to the debtor for the debtor's use or that               $                  0.00   $                     0.00
 of dependents listed above.
 Social Security or other government assistance
 Specify:                                                                                                  $                  0.00 $                       0.00
 Pension or retirement income                                                                              $                  0.00 $                       0.00
 Other monthly income
 Specify:                                                                                                  $                 0.00 $                        0.00
    TOTAL MONTHLY INCOME                                                                                   $             7,890.61 $                        0.00
                        TOTAL COMBINED MONTHLY INCOME                        $                 7,890.61
                        (Report also on Summary of Schedules)

 Describe any increase or decrease of more than 10% in any of the above categories anticipated to occur within the year following the filing of this
 document:




                                                                                                                                         Page No.      1 of    1
                      Case 09-16956
FORM B6J (6/90) West Group, Rochester, NY          Doc 1          Filed 05/09/09 Entered 05/09/09 11:42:06                                Desc Main
                                                                   Document     Page 24 of 33



In re Ostrander, Joseph C., Jr. and Ostrander, Christine S.                                             / Debtor                Case No.
                                                                                                                                                      (if known)


                      SCHEDULE J-CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR

Complete this schedule by estimating the average expenses of the debtor and the debtor's family. Pro rate any payments made bi-weekly, quarterly,
semi-annually, or annually to show monthly rate.

   Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures labeled
   "Spouse."
 Rent or home mortgage payment (include lot rented for mobile home)                                                                           $       4,182.00
 Are real estate taxes included?  Yes            No
 Is property insurance included?         Yes        No
 Utilities: Electricity and heating fuel                                                                                                      $         125.00
             Water and sewer                                                                                                                  $         110.00
             Telephone                                                                                                                        $         180.00
             Other     Nicor,     Garbage, Satellite                                                                                          $         235.00
  Home maintenance (Repairs and upkeep)                                                                                                       $         200.00
  Food                                                                                                                                        $         500.00
  Clothing                                                                                                                                    $         100.00
  Laundry and dry cleaning                                                                                                                    $          25.00
  Medical and dental expenses                                                                                                                 $          75.00
  Transportation (not including car payments)                                                                                                 $         500.00
  Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                            $         250.00
  Charitable contributions                                                                                                                    $         120.00
  Insurance (not deducted from wages or included in home mortgage payments)
             Homeowner's or renter's                                                                                                          $             0.00
             Life                                                                                                                             $           120.00
             Health                                                                                                                           $             0.00
             Auto                                                                                                                             $           225.00
             Other                                                                                                                            $             0.00
  Taxes (not deducted from wages or included in home mortgage)
  Specify:                                                                                                                                    $            0.00
  Installment payments: (in chapter 12 and 13 cases, do not list payments to be included in the plan)
             Auto                                                                                                                             $         575.41
         Other: Boat                                                                                                                          $         135.00
 Alimony, maintenance, and support paid to others                                                                                             $           0.00
 Payments for support of additional dependents not living at your home                                                                        $           0.00
 Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                 $           0.00
 Other:      School, pet, education savings                                                                                                   $         100.80

                                                                  TOTAL MONTHLY EXPENSES                 (Report also on Summary of Schedules) $      7,758.21
                   Case 09-16956
FORM B6 (6/90) West Group, Rochester, NY       Doc 1       Filed 05/09/09 Entered 05/09/09 11:42:06                     Desc Main
                                                            Document     Page 25 of 33


                                            UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF ILLINOIS
                                                    EASTERN DIVISION
   In re Ostrander, Joseph C., Jr. and Ostrander, Christine S.                                                   Case No.
                                                                                                                 Chapter 7


                                                                                                    / Debtor




                                                        SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages on each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts from
Schedules D, E and F to determine the total amount of the debtor's liabilities.



                                                                                                AMOUNTS SCHEDULED

                                           Attached        No. of
      NAME OF SCHEDULE                     (Yes/No)        Sheets          ASSETS                       LIABILITIES                   OTHER

 A-Real Property
                                            Yes              1       $       535,000.00

 B-Personal Property
                                            Yes              3       $        25,795.00

 C-Property Claimed as
   Exempt
                                            Yes              1

 D-Creditors Holding Secured
   Claims
                                            Yes              1                                  $         566,249.03

 E-Creditors Holding
   Unsecured Priority Claims
                                            Yes              1                                  $                     0.00

 F-Creditors Holding
   Unsecured Nonpriority Claims
                                            Yes              6                                  $              58,344.75

 G-Executory Contracts and
   Unexpired Leases
                                            Yes              1

 H-Codebtors
                                            Yes              1

 I-Current Income of Individual
   Debtor(s)
                                            Yes              1                                                               $            7,890.61

 J-Current Expenditures of
   Individual Debtor(s)
                                            Yes              1                                                               $            7,758.21


       Total Number of Sheets in All Schedules               17


                                                      Total Assets   $        560,795.00


                                                                            Total Liabilities    $         624,593.78
                  Case 09-16956
FORM B6 (6/90) West Group, Rochester, NY     Doc 1        Filed 05/09/09 Entered 05/09/09 11:42:06                          Desc Main
                                                           Document     Page 26 of 33

In re Ostrander, Joseph C., Jr. and Ostrander, Christine S.                                          / Debtor        Case No.
                                                                                                                                                     (if known)




                             DECLARATION CONCERNING DEBTOR'S SCHEDULES


                             DECLARATION UNDER PENALTY OF PERJURY BY AN INDIVIDUAL DEBTOR


     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of     18   sheets, and that they are true and
     correct to the best of my knowledge, information and belief.



     Date:                                               Signature   /s/ Ostrander, Joseph C., Jr.
                                                                     Ostrander, Joseph C., Jr.


     Date:                                               Signature   /s/ Ostrander, Christine S.
                                                                     Ostrander, Christine S.
                Case
 Form 7 (10/89) West    09-16956
                     Group, Rochester, NYDoc             1      Filed 05/09/09 Entered 05/09/09 11:42:06                                     Desc Main
                                                                 Document     Page 27 of 33
                                              UNITED STATES BANKRUPTCY COURT
                                                NORTHERN DISTRICT OF ILLINOIS
                                                      EASTERN DIVISION

In re Ostrander, Joseph C., Jr.                                                                                             Case No.
      and                                                                                                                   Chapter 7
      Ostrander, Christine S.


                                                                                                                / Debtor

                                                               STATEMENT OF FINANCIAL AFFAIRS
           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both
spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner,
family farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the
individual's personal affairs.

           Questions 1-15 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions
16-21. If the answer to any question is "None," or the question is not applicable, mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.




                                                                               DEFINITIONS
           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within the two years immediately preceding the filing of this bankruptcy case, any of the
following: an officer, director, managing executive, or person in control of a corporation; a partner, other than a limited partner, of a partnership; a sole
proprietor or self-employed.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
which the debtor is an officer, director, or person in control; officers, directors, and any person in control of a corporate debtor and their relatives; affiliates
of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. §101.


1. Income from employment or operation of business.
     State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business from the beginning
     of this calendar year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor
     that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending
     dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state
     income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT                                                       SOURCE (if more than one)

Year to date:$34,905.00
   Last Year: $132,244.00
Year before: $150,339.00

2. Income other than from employment or operation of business.
     State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the two years immediately
     preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or
     chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

     NONE

3a. Payments to creditors.
     List all payments on loans, installment purchases of goods or services, and other debts, aggregating more than $600 to any creditor, made within 90 days immediately
     preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
     petition is filed, unless the spouses are separated and a joint petition is not filed.)

     NONE




                                                                                                                         Statement of Affairs - Page 1
                Case
 Form 7 (10/89) West    09-16956
                     Group, Rochester, NYDoc                1      Filed 05/09/09 Entered 05/09/09 11:42:06                                        Desc Main
                                                                    Document     Page 28 of 33
3b.   List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or were insiders. (Married debtors
      filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
      petition is not filed.)

      NONE

4a. Suits and administrative proceedings, executions, garnishments and attachments.
      List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this bankruptcy case. (Married debtors
      filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
      a joint petition is not filed.)

      NONE

4b.   Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding the commencement of this
      case.(Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
      unless the spouses are separated and a joint petition is not filed.)

      NONE

5. Repossessions, foreclosures and returns.
      List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to the seller, within one year
      immediately preceding the commencement of this case.(Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
      spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

      NONE

6a. Assignments and receiverships.
      Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.(Married debtors filing under
      chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition
      is not filed.)

      NONE

6b.   List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the commencement of this
      case.(Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
      unless the spouses are separated and a joint petition is not filed.)

      NONE

7. Gifts.
      List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual gifts to family members
      aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100 per recipient.(Married debtors filing under chapter 12
      or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
      filed.)

      NONE

8. Losses.
      List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the commencement of this case.
      (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
      and a joint petition is not filed.)

      NONE

9. Payments related to debt counseling or bankruptcy.
      List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt consolidation, relief under
      the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement of this case.

                                                                DATE OF PAYMENT,                                              AMOUNT OF MONEY OR
NAME AND ADDRESS OF PAYEE                                       NAME OF PAYOR IF OTHER THAN DEBTOR                            DESCRIPTION AND VALUE OF PROPERTY

Payee: Charles P. Pavesich &                                    Date of Payment:9/5/08 -                                      $2,500.00
Associates, Ltd                                                 2/18/09
Address:1011 E. Roosevelt                                       Payor: Debtor
Rd., Lombard, IL 60148

10. Other transfers.
      List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either absolutely or as security
      within one year immediately preceding the commencement of this case.(Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both
      spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

      NONE




                                                                                                                              Statement of Affairs - Page 2
                Case
 Form 7 (10/89) West    09-16956
                     Group, Rochester, NYDoc              1     Filed 05/09/09 Entered 05/09/09 11:42:06                                      Desc Main
                                                                 Document     Page 29 of 33
11. Closed financial accounts.
     List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise transferred within one year
     immediately preceding the commencement of this case. Include checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and
     share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under
     chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless
     spouses are separated and a joint petition is not filed.)

    NONE

12. Safe deposit boxes.
     List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately preceding the
     commencement of this case.(Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition
     is filed, unless the spouses are separated and a joint petition is not filed.)

    NONE

13. Setoffs.
     List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this case. (Married debtors
     filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
     a joint petition is not filed.)

    NONE

14. Property held for another person.
     List all property owned by another person that the debtor holds or controls.

    NONE

15. Prior address of debtor.
     If the debtor has moved within the two years immediately preceding the commencement of this case, list all premises which the debtor occupied during that period and
     vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

    NONE




                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR



I declare under penalty of Perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto and
that they are true and correct to the best of my knowledge, information, and belief.


Date                                                   Signature   /s/ Ostrander, Joseph C., Jr.
                                                                   Ostrander, Joseph C., Jr.

Date                                                   Signature   /s/ Ostrander, Christine S.
                                                                   Ostrander, Christine S.
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both, 18 U.S.C. § 152 and § 3571.




                                                                                                                          Statement of Affairs - Page 3
                  Case 09-16956
FORM B8 (9/97) West Group, Rochester, NY   Doc 1      Filed 05/09/09 Entered 05/09/09 11:42:06                              Desc Main
                                                       Document     Page 30 of 33

                                           UNITED STATES BANKRUPTCY COURT
                                             NORTHERN DISTRICT OF ILLINOIS
                                                   EASTERN DIVISION
In re Ostrander, Joseph C., Jr. and Ostrander, Christine S.                                               Case No.
                                                                                                          Chapter 7



                                                                                               / Debtor




                    CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
1. I have filed a schedule of assets and liabilities which includes consumer debts secured by property of the estate.



2. I intend to do the following with respect to the property of the estate which secures those consumer debts:

a. Property to Be Surrendered.

Description of Property                              Creditor's Name
          None




b. Property to Be Retained.                                                                                  [Check any applicable statement.]

                                                                                                              Property is     Property will be   Debt will be
                                                                                                              claimed as      redeemed           reaffirmed
Description of Property                              Creditor's Name                                          exempt          pursuant to        pursuant to
                                                                                                                              11 U.S.C. § 722    11 U.S.C. § 524(c)

'98 Sulvan fishing boat                              Citizens Bank                                                   X                                   X

                                                               Signature of Debtor(s)



Date:                                                Debtor:   /s/ Ostrander, Joseph C., Jr.




                                                                                                                                        Page       1 of         3
                  Case 09-16956
FORM B8 (9/97) West Group, Rochester, NY   Doc 1      Filed 05/09/09 Entered 05/09/09 11:42:06                              Desc Main
                                                       Document     Page 31 of 33

                                           UNITED STATES BANKRUPTCY COURT
                                             NORTHERN DISTRICT OF ILLINOIS
                                                   EASTERN DIVISION
In re Ostrander, Joseph C., Jr. and Ostrander, Christine S.                                               Case No.
                                                                                                          Chapter 7



                                                                                               / Debtor




                        CHAPTER 7 STATEMENT OF INTENTION - SPOUSE'S DEBTS
1. I have filed a schedule of assets and liabilities which includes consumer debts secured by property of the estate.



2. I intend to do the following with respect to the property of the estate which secures those consumer debts:

a. Property to Be Surrendered.

Description of Property                              Creditor's Name
          None




b. Property to Be Retained.                                                                                  [Check any applicable statement.]

                                                                                                              Property is     Property will be   Debt will be
                                                                                                              claimed as      redeemed           reaffirmed
Description of Property                              Creditor's Name                                          exempt          pursuant to        pursuant to
                                                                                                                              11 U.S.C. § 722    11 U.S.C. § 524(c)

2006 Ford Freestar                                   First Northern Credit Union                                     X                                   X

                                                               Signature of Debtor(s)



Date:                                                Debtor:   /s/ Ostrander, Joseph C., Jr.




                                                                                                                                        Page       2 of         3
                  Case 09-16956
FORM B8 (9/97) West Group, Rochester, NY   Doc 1      Filed 05/09/09 Entered 05/09/09 11:42:06                              Desc Main
                                                       Document     Page 32 of 33

                                           UNITED STATES BANKRUPTCY COURT
                                             NORTHERN DISTRICT OF ILLINOIS
                                                   EASTERN DIVISION
In re Ostrander, Joseph C., Jr. and Ostrander, Christine S.                                               Case No.
                                                                                                          Chapter 7



                                                                                               / Debtor




                            CHAPTER 7 STATEMENT OF INTENTION - JOINT DEBTS
1. I have filed a schedule of assets and liabilities which includes consumer debts secured by property of the estate.



2. I intend to do the following with respect to the property of the estate which secures those consumer debts:

a. Property to Be Surrendered.

Description of Property                              Creditor's Name
          None




b. Property to Be Retained.                                                                                  [Check any applicable statement.]

                                                                                                              Property is     Property will be   Debt will be
                                                                                                              claimed as      redeemed           reaffirmed
Description of Property                              Creditor's Name                                          exempt          pursuant to        pursuant to
                                                                                                                              11 U.S.C. § 722    11 U.S.C. § 524(c)

526 Senon Drive, Lemont, IL                          National City Mortgage Co.                                      X                                   X
        "                                            National City                                                   X                                   X
        "                                            GE Money Bank                                                   X                                   X

                                                               Signature of Debtor(s)



Date:                                                Debtor:   /s/ Ostrander, Joseph C., Jr.


Date:                                                Joint Debtor:   /s/ Ostrander, Christine S.




                                                                                                                                        Page       3 of         3
                  Case 09-16956                  Doc 1           Filed 05/09/09 Entered 05/09/09 11:42:06                             Desc Main
                                                                  Document     Page 33 of 33
                                                     UNITED STATES BANKRUPTCY COURT
                                                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                                                             EASTERN DIVISION
In re   Ostrander, Joseph C., Jr.                                                                                      Case No.
          and                                                                                                          Chapter      7
        Ostrander, Christine S.
                                                                                                                       Hon.      4/16/2009

                                                                                                               / Debtor


                                                         STATEMENT OF ATTORNEY FOR DEBTOR(S)
                                                                 PURSUANT TO F.R.BANKR.P.2016(b)

        The undersigned, pursuant to F.R.Bankr.P.2016(b), states that:

        The undersigned is the attorney for the Debtor(s) in this case.

        The compensation paid or agreed to be paid by the Debtor(s) to the undersigned is: [Check one]

        [ ]           FLAT FEE

        A.            For legal services rendered in contemplation of and in connection with this case, exclusive
                      of the filing fee paid

        B.            Prior to filing this statement, received

        C.            The unpaid balance due and payable is

        [X]           RETAINER

        A.            Amount of retainer received                                                            $2,500.00

        B.            The undersigned shall bill against the retainer at an hourly rate of             $200.00 . [Or attach firm hourly rate schedule.] Debtor(s)
                      have agreed to pay all Court approved fees and expenses exceeding the amount of the retainer.

        $                  299.00    of the filing fee has been paid.


        In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including: [Cross out any that do
        not apply.]

        A.            Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
        B.            Preperation and filing of any petition, schedules, statement of affairs and plan which may be required;
        C.            Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
        D.            Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
        E.            Reaffirmations;
        F.            Redemptions;
        G.            Other: None


        By agreement with the debtor(s), the above disclosed fee does not include the following services:
                      None


        The source of the payments to the undersigned was from:

        A.             X       Debtor(s)' earnings, wages, compensation for services performed
        B.                     Other (describe, including the identify of payor)   N/A


        The undersigned has not shared or agreed to share, with any other person, other than with members of the undersigned's law firm or corporation,
        any compensation paid or to paid except as follows:
                      None


        Dated:   4/16/2009                                                                       /s/ Phillip A. Olson
                                                                                                 Attorney for the Debtor(s)

                 /s/ Ostrander, Joseph C., Jr.
        Agreed: _________________________________________                                        /s/ Ostrander, Christine S.
                 Debtor                                                                          Debtor
